
In re United States Fire Ins. Co.; applying for writ of certiorari and/or review, supervisory writ; to the Court of Appeal, Third Circuit, No. CW87-1282; Parish of Vermilion, 15th Judicial District Court, Div. “J”, No. 86-51284-J.
Writ granted. The judgments of the court of appeal and the district court are reversed. Blanket production of the attorney’s and insurer’s files is not permitted. The plaintiff is free to renew her discovery requests upon identifying the documents or types of documents she seeks. If any such requested documents are those prepared in anticipation of litigation, those documents should not be produced unless the plaintiff makes the showing required by La.Civ. Code Proc. art. 1422. In all events, documents which contain the opinions, conclusions, theories or mental impressions of the defendant’s attorney as well as privileged communications are not discoverable.
